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                         NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                                       Preliminary charts based on best available information

   7,848,328                                   Imagine Learning (“Accused Instrumentality”)

1. A method The defendant streams videos making use of HTTP live streaming (HLS) standard (hereinafter referred to as the
comprising:         standard).
mapping, with at
least          one
processor, each of
a plurality of data
streams related to
a specific content
to a different
component of a
service delivering
multiple
versions of the
specific content;




                  https://www.imaginelearning.com/




                                                           1
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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                                         Preliminary charts based on best available information

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             https://www.imaginelearning.com/english-learners

             The accused standard discloses a method which comprises mapping, with at least one processor (e.g.,
             processor/transcoder of a server of an HLS service provider), each of a plurality of data streams (e.g., media
             streams such as audio, video, captions, etc.) related to a specific content (e.g., streaming content such as web
             streaming, on-demand news) to a different component (e.g., Index file m3u8) of a service (e.g., web streaming,
             on-demand news etc.) delivering multiple versions (e.g., M3U8 Manifest File comprises multiple versions of a
             data stream) of the specific content (e.g., streaming content such as web streaming, on-demand news etc.).

             As shown below, a server of an HLS service provider converts plurality of data streams such as audio, video, etc.
             of a streaming content (e.g., specific content) in multiple streams at different bitrates and resolutions in different
             media segments of a M3U8 Manifest File. For example a media segment may consist of representation of videos
             and audios. Similarly, different media segments contain many different representations.




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                   NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                                      Preliminary charts based on best available information

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             Source: Packet capture by Fiddler tool

             As shown below, a server of an HLS streaming service provider converts plurality of data streams such as audio,
             video, etc. of a streaming content (e.g., specific content) such as an entertainment news in multiple versions in
             different adaptation sets of a M3U8 Manifest File. For example, an adaption set may consist of representation of
             different resolutions 640x360 video, 400x224 video, etc.




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                   NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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             Source: Packet capture by Fiddler tool




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                   NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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             Source: Packet capture by Fiddler tool




             Source: Packet capture by Fiddler tool




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                   NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                                         Preliminary charts based on best available information

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             https://martech.zone/http-live-streaming-player-features/




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                   NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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             https://developer.apple.com/documentation/http_live_streaming




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                   NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                                   Preliminary charts based on best available information

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             https://developer.apple.com/documentation/http_live_streaming/preparing_audio_for_http_live_streaming




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                   NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                                  Preliminary charts based on best available information

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             https://www.streamingmedia.com/Articles/Editorial/What-Is-.../What-Is-HLS-(HTTP-Live-Streaming)-
             78221.aspx?utm_source=related_articles&utm_medium=gutenberg&utm_campaign=editors_selection




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        NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                      Preliminary charts based on best available information




  https://www.wowza.com/blog/hls-streaming-protocol


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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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              https://datatracker.ietf.org/doc/html/rfc8216#section-1




              https://datatracker.ietf.org/doc/html/rfc8216




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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              https://datatracker.ietf.org/doc/html/rfc8216




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              https://datatracker.ietf.org/doc/html/rfc8216




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              https://datatracker.ietf.org/doc/html/rfc8216




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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              https://datatracker.ietf.org/doc/html/rfc8216




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              https://datatracker.ietf.org/doc/html/rfc8216




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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              https://datatracker.ietf.org/doc/html/rfc8216




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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              https://datatracker.ietf.org/doc/html/rfc8216




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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              https://datatracker.ietf.org/doc/html/rfc8216




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  https://datatracker.ietf.org/doc/html/rfc8216


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                   NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                              Preliminary charts based on best available information

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                                               Preliminary charts based on best available information




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                                    Preliminary charts based on best available information

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              https://datatracker.ietf.org/doc/html/rfc8216




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  https://datatracker.ietf.org/doc/html/rfc8216


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              https://datatracker.ietf.org/doc/html/rfc8216




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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              https://datatracker.ietf.org/doc/html/rfc8216




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

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              https://datatracker.ietf.org/doc/html/rfc8216




              https://datatracker.ietf.org/doc/html/rfc8216




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  https://datatracker.ietf.org/doc/html/rfc8216


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                                                                                 Preliminary charts based on best available information

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encapsulating          The accused standard discloses encapsulating each data stream (e.g., media streams such as audio, video, captions,
each data stream       etc.) of the plurality into a stream of packets (e.g., index file m3u8 data packets) according to a first
of the plurality       communication protocol (e.g., Transmission control protocol).
into a
stream of packets      As shown below, For HLS, MPEG-2 transport stream is used to encapsulate the data stream (e.g., media streams
according to a first   such as audio, video, captions, etc.) using first communication protocol (e.g. TCP).
communication
protocol,




                       Source: Packet capture by Fiddler tool




                                                                   30
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                                                                   Preliminary charts based on best available information

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              Source: Packet capture by Fiddler tool




              Source: Packet capture by Fiddler tool




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              Source: Packet capture by Fiddler tool




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                                                              Preliminary charts based on best available information

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                                                                     Preliminary charts based on best available information

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              https://developer.apple.com/documentation/http_live_streaming/preparing_audio_for_http_live_streaming




              https://www.cloudflare.com/learning/video/what-is-http-live-streaming/


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                                                                                Preliminary charts based on best available information

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                      https://datatracker.ietf.org/doc/html/rfc8216#section-1

wherein, as to        The accused standard discloses wherein, as to each of the packet streams (e.g., m3u8 data packet stream), the
each of the packet    packets have a value (e.g., audio/video type, group id, etc.) in a common field identifying the component mapped
streams,        the   to the data stream (e.g., media streams such as audio, video, captions, etc.) encapsulated by the packet stream
packets               (e.g., m3u8 data packet stream).
have a value in a
common        field   As shown below, the common field shows “type: video”
identifying the
component
mapped to the data



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                                                                          Preliminary charts based on best available information

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stream
encapsulated by
the packet stream;




                     Source: Packet capture by Fiddler tool




                     Source: Packet capture by Fiddler tool




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                                                                   Preliminary charts based on best available information

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              Source: Packet capture by Fiddler tool




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              https://datatracker.ietf.org/doc/html/rfc8216



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                                                                    Preliminary charts based on best available information

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              https://developer.apple.com/documentation/http_live_streaming/preparing_audio_for_http_live_streaming




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  https://datatracker.ietf.org/doc/html/rfc8216


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              https://datatracker.ietf.org/doc/html/rfc8216




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              https://datatracker.ietf.org/doc/html/rfc8216




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                                                                    Preliminary charts based on best available information

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              https://datatracker.ietf.org/doc/html/rfc8216




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                                                                               Preliminary charts based on best available information

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                   https://datatracker.ietf.org/doc/html/rfc8216

and     forwarding The accused standard discloses forwarding the packet streams (e.g., m3u8 data packet stream) for transmission
the packet streams in a transmission channel (e.g., wired/wireless transmission).
for transmission in
a
transmission
channel,




                   https://martech.zone/http-live-streaming-player-features/




                                                                   48
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                    https://developer.apple.com/documentation/http_live_streaming

and wherein the The accused standard discloses wherein the mapping further comprises assigning a specific value (e.g., value
mapping further corresponding to different media stream) to each component for a predefined field of a packet (e.g., segment info)


                                                               49
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                                                                               Preliminary charts based on best available information

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comprises             according to a second communication protocol (e.g., HTTP/Hypertext transfer protocol), the specific value (e.g.,
assigning a           value corresponding to different media stream) distinguishing the component from other components.
specific value to
each component        As shown below, the accused standard provides m3u8 index file with multiple media playlists. Each media
for a predefined      playlist has many representations, wherein every representation has many segments, these segments contains
field                 media information of each conversion corresponding to that media playlist.
of     a    packet
according to a        The accused standard provides each segment having information related to a particular HTTP based uniform
second                resource locator for getting a media stream from that particular address.
communication
protocol,       the   For the video segment shown below, the base URL is https://embed-fastly.wistia.com/ and the specific value is
specific     value    “deliveries/068170664e31eef36348315442e3127873975b59.m3u8/v2/seg-1-v1-a1.ts" (http based).
distinguishing the
component from
other components,
and




                      Source: Packet capture by Fiddler tool




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              Source: Packet capture by Fiddler tool




              Source: Packet capture by Fiddler tool




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                                   Preliminary charts based on best available information

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              https://www.streamingmedia.com/Articles/Editorial/What-Is-.../What-Is-HLS-(HTTP-Live-Streaming)-
              78221.aspx?utm_source=related_articles&utm_medium=gutenberg&utm_campaign=editors_selection




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  https://www.wowza.com/blog/hls-streaming-protocol



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                                                                                Preliminary charts based on best available information

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                    https://datatracker.ietf.org/doc/html/rfc8216




                    https://martech.zone/http-live-streaming-player-features/

the encapsulating   The accused standard discloses encapsulating comprises encapsulating the packet streams (e.g., data packets in
comprises           m3u8 file) according to one or more lower layer protocols without encapsulating the packet streams (e.g., data
encapsulating the   packets in m3u8) according to the second communication protocol (e.g. HTTP Protocol).
packet
streams according   Further as explained below, the packet streams are encapsulated according to one or more lower layer protocols
to one or more      (e.g., network layer/MAC layer/physical layer) of the device transmitting the packet streams. Since, the packet
                    streams are obtained by TCP encapsulation of data streams and the HTTP protocol doesn’t reside beneath the



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lower         layer   TCP layer, the further encapsulation doesn’t comprise encapsulation using HTTP protocol (once TCP
protocols             encapsulation has been executed).
without
encapsulating the     In any communication system, when a sender prepares data for sending from its physical interface (e.g.,
packet     streams    wired/wireless interface of the server/machine), the process of entire “data formulation” or “data construction”
according to          has multiple steps, all steps (if they are present) are associated with one layer of OSI model (it’s a model which
the         second    every communication system follows, some specification communication schemes may have lower number of
communication         layers (because multiple layers of OSI can be combined into one for those cases). Two lower level layers—data
protocol.             link layer and physical layers are invariably present in any communication system. They are the lowest two layers.
                      They reside beneath the TCP layer. Data link layer ensure error free communication whereas the physical layer
                      processes the data so that it can be sent using the actual medium of communication (e.g., modulation and
                      formatting in wireless/wired communication system)




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                    NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                                                     Preliminary charts based on best available information

7,848,328                                   Imagine Learning (“Accused Instrumentality”)




              https://www.cloudflare.com/learning/video/what-is-http-live-streaming/




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                                                                        Preliminary charts based on best available information

7,848,328                                  Imagine Learning (“Accused Instrumentality”)




              https://www.informit.com/articles/article.aspx?p=169578




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                                                                    Preliminary charts based on best available information

7,848,328                                  Imagine Learning (“Accused Instrumentality”)




              https://www.guru99.com/layers-of-osi-model.html
              https://www.cloudflare.com/learning/ddos/glossary/open-systems-interconnection-model-osi/




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       NIMITZ TECHNOLOGIES LLC CLAIM CHARTS RE PAT. 7,848,328

                                               Preliminary charts based on best available information




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